  17-10744-mew       Doc 9-1 Filed 04/04/17 Entered 04/04/17 14:55:12                Motion for
                    examination under Fed. R. Bankr. P. 2004 Pg 1 of 6


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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:

SCANDIA SEAFOOD (NEW YORK), LLC                   Chapter 7 Case No. 17-10744 (MEW)

                              Debtor.


         MOTION OF BEYER LIGHTNING FISH COMPANY, INC. AND
    CLEAR WATER FISH CO., INC. UNDER FEDERAL RULE OF BANKRUPTCY
   PROCEDURE 2004 FOR AN ORDER DIRECTING THE EXAMINATION OF AND
                     PRODUCTION OF DOCUMENTS

TO:      HONORABLE MICHAEL E. WILES
         UNITED STATES BANKRUPTCY JUDGE:

         Beyer Lightning Fish Company, Inc. and Clear Water Fish Co., Inc. (hereinafter "The

Movants"), by their attorneys, the Law Offices of Douglas T. Tabachnik, P.C., respectfully

represent as follows:

                                     Preliminary Statement

         1.     The Movant respectfully requests that this Court enter an order pursuant to Rule

2004 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) authorizing and

directing the examination of the parties and entities on the annexed Schedule A. The movants

believe that the requested subpoenas are necessary in order to properly investigate the

circumstances surrounding the purchase of the debtor’s assets by its principals in a New Jersey


                                                 1
  17-10744-mew       Doc 9-1 Filed 04/04/17 Entered 04/04/17 14:55:12                     Motion for
                    examination under Fed. R. Bankr. P. 2004 Pg 2 of 6


assignment for the benefit of creditors, by which the principals were actually paid $15,000 by the

debtor to receive the assets and pursue accounts receivable. The movants suspect that the

principal objective of this activity is to satisfy the claim of the secured creditor can, in the

approximate amount of $800,000. The secured creditor is the former factor of the debtor. One of

the areas of inquiry is whether or not the factor has a personal guaranty of the principals of the

purchaser of the assets.

        2.      In addition, discovery is needed to determine whether or not the purchase of the

assets by the principals was for fair value. The purchase was not subject to an auction. The

purchaser has set up operations apparently identical to those conducted by the debtor in the very

same office space in Secaucus New Jersey occupied by the debtor.

                   JURISDICTION AND PROCEDURAL BACKGROUND

        3.      This Court has jurisdiction over this motion pursuant to 28 U.S.C. §§1334 and

157(b). Venue is proper in this Court pursuant to 28 U.S.C. §1409(a).

        4.      On March 28, 2017, the Movants filed an involuntary petition under Chapter 7,

title 11, United States Code (all references to section numbers under title 11, United States Code

shall be hereinafter referred to as the “Bankruptcy Code” or Code”).

                                          BACKGROUND

        5.      Until November 29, 2016, the debtor operated a wholesale fish business largely

by purchasing inventory consisting of fresh fish from the fish market located in the Hunts Point

section of the Bronx. The debtor’s principal offices are located in Secaucus, New Jersey,

although it would appear that most of its creditors are located either in New York or other

jurisdictions. On November 29, 2016 the debtor executed a deed of assignment under the New

Jersey debtor and creditor law commencing, an assignment for the benefit of creditors, which it


                                                   2
 17-10744-mew        Doc 9-1 Filed 04/04/17 Entered 04/04/17 14:55:12                   Motion for
                    examination under Fed. R. Bankr. P. 2004 Pg 3 of 6


filed on December 6, 2016. A copy is annexed hereto as Exhibit A. On December 29, 2016 the

assignee filed a motion approving a management agreement and authorizing the sale of certain

assets of the assignor to an entity called Seafood Innovations, LLC, for the sum of $45,000, “free

and clear of all liens claims and encumbrances of any type.” A copy of the motion, together with

exhibits, is annexed hereto as Exhibit B. Seafood Innovations has as its president, Stephen

Tucker, the same individual who signed the debtor’s deed of assignment as chairman on behalf

of the debtor. The management agreement for which approval was sought and obtained was for

Seafood Innovations to then run the business of the debtor and to receive a management fee

equal to “any and all profits from the debtor’s business during the term of the agreement after the

payment of all expenses and operational costs incurred.”

       6.      Notwithstanding the clear identity of relationship between the debtor and the

manager, the management agreement provides, incredulously, that “[i]n the performance of this

Agreement, it is mutually understood and agreed that Manager is at all times acting and

performing as an independent contractor of, and not an employee, joint venture or, or lessee of,

Scandia.” Management agreement at article VII.

       7.      Significantly, it would appear from the schedules attached to the deed of

assignment that there are debts owed to list of creditors in the approximate amount of $2.4

million. There are approximately $1.5 million in accounts receivable to be collected by this

debtor. The debtor also lists a secured creditor, consisting of the debtor’s factor, NorthMill

Capital, which is listed as being owed $819,568.26. It is the movants experience that suggests

there may well be a personal guarantee on the part of the debtor’s principals for the debtor’s

indebtedness to the factor. Among the other issues to be investigated is whether this is accurate.

If it is, then it would appear that the primary objective in the debtor’s filing of the assignment for



                                                  3
 17-10744-mew         Doc 9-1 Filed 04/04/17 Entered 04/04/17 14:55:12                  Motion for
                     examination under Fed. R. Bankr. P. 2004 Pg 4 of 6


the benefit of creditors will be for the purpose of pursuing the creditors for preferential transfers

under the more favorable state court statutes that deprive creditors of the usual defenses available

under article 5 of the Bankruptcy Code so as to enable the principals to repay the debtor’s factor

at the creditors expense. Furthermore, the debtor would be conducting this exercise all the while

continuing in the very business of the debtor and getting paid from the profits of the debtor while

it operated the debtor’s business during the course of the ABC.

                                  Basis for the Relief Requested

         8.     Federal Rule of Bankruptcy Procedure 2004 provides that “[o]n motion of any

party in interest, the Court may order the examination of any entity” with regard to the “acts,

conduct, or property or to the liabilities and financial condition of the debtors, or to any matter

which may affect the administration of the debtor’s estate…” Fed. R. Bankr. P. 2004 (Lexis

2017).

         The purpose of a Rule 2004 examination is to assist a party in interest in determining the
         nature and extent of the bankruptcy estate, revealing assets, examining transactions and
         assessing whether wrongdoing has occurred. See In re Bennett Funding Group, Inc., 203
         B.R. 24, 28 (Bankr. N.D.N.Y. 1996). The scope of Rule 2004 examination is very broad,
         broader even than discovery under the Federal Rules of Civil Procedure. In re Drexel
         Burnham Lambert Group, Inc., 123 B.R. 702, 711 (Bankr. S.D.N.Y. 1991). Any third
         party who has a relationship with a debtor may be made subject to a Rule 2004
         investigation. See Air Line Pilots Assoc., Int'l v. American Nat'l Bank and Trust Co. of
         Chicago (In re Ionosphere Clubs, Inc.), 156 B.R. 414, 432 (S.D.N.Y. 1993).

         In re Recoton Corp., 307 B.R. 751, 755 (Bankr. S.D.N.Y. 2004)


         9.     In this case, the insider transactions subsequent to the delivery of the deed of

assignment prior to the filing of this petition suggest the need for further investigation to

determine the extent to which the principles other operations are integrated with the debtor

operations such that additional assets may be reclaimed, and whether assets that should belong to

the estate are improperly being diverted to nondebtor entities. An examination of the debtor’s

                                                  4
 17-10744-mew        Doc 9-1 Filed 04/04/17 Entered 04/04/17 14:55:12                  Motion for
                    examination under Fed. R. Bankr. P. 2004 Pg 5 of 6


bank accounts, as identified in the deed of assignment should help in this investigation. The

examination of the documents were NorthMill capital, the debtor secured lender and factor will

help to determine whether and to what extent the assignment for the benefit of creditors

proceeding was, in reality, an effort to secure repayment of personal guarantees at the expense of

creditors whose behalf the principles of the debtor owed a fiduciary obligation.

       10.     Nautical Foods, LLC is another entity that has been identified on the stationery

containing the offer of the purchase of the assets signed by Stephen Tucker. The identity of the

specific entity is further suggested by an industry report subscribed to by the petitioning creditors

and what happens to include all parties related to the report, including Nautical Foods, located in

Secaucus, the same location as the debtor and Innovation Seafood. A copy of this report is

annexed hereto as Exhibit C. Counsel has also learned that Innovation Seafood recently

changed its corporate name by the filing of a certificate of name change with the New Jersey

Department of Revenue. A copy of this document is annexed hereto as Exhibit D. Further

investigation reveals that the Debtor operated under the name Nautical Foods at least as of

September 26, 2016, when its Facebook post noted a display under that name at the Mohegan

Sun. A copy of these pages is annexed hereto as Exhibit E.

       11.     The examination of the Rule 2004 Parties is also necessary to determine the bona

fides of the transactions between the related parties and the determination of possible fraudulent

conduct on the part of the Debtor. See, AIG Fin. Prods. Corp. v ICP Asset Mgt., LLC, 108

A.D.3d 444 (App, Div. 1st Dept. 2013); Oster v. Kirschner, et al., 77 A.D.3d 51; 905 N.Y.S.2d

69 (App. Div. 1st Dept. 2010).




                                                 5
 17-10744-mew       Doc 9-1 Filed 04/04/17 Entered 04/04/17 14:55:12             Motion for
                   examination under Fed. R. Bankr. P. 2004 Pg 6 of 6


       WHEREFORE, the Movants respectfully requests that this Court enter an Order granting

their Motion under Federal Rule of Bankruptcy Procedure 2004 Directing the Debtor’s and the

Rule 2004 Parties’ Examination and Production of Documents, and such other and further relief

as this Court deems just and proper.

Dated: March 30, 2017

                                       LAW OFFICES OF DOUGLAS T. TABACHNIK, P.C.

                                       By:   /s/ Douglas T. Tabachnik
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                                               6
